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     In The United States Court of Federal Claims
                                             No. 12-47C

                                  (Filed: February 17, 2012)
                                          __________

  INTERNATIONAL GENOMICS
  CONSORTIUM,

                                Plaintiff,

                         v.

  THE UNITED STATES,

                               Defendant.


                                             __________

                                              ORDER
                                             __________

       On February 16, 2012, plaintiff filed a motion for leave to conduct limited discovery, to
compel disclosure, and to supplement the administrative record. On or before February 22,
2012, defendant and defendant-intervenor shall file their responses to the motion.

       IT IS SO ORDERED.



                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
